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 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                                UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                        SANTA ANA DIVISION
11

12 In re                                                Case No. 8:21-bk-11710-ES

13 JAMIE LYNN GALLIAN,                                  Chapter 7

14                                                      TRUSTEE’S JOINDER IN HOUSER
                                                        BROS. CO. dba RANCHO DEL REY
15                     Debtor.                          MOBILE HOME ESTATES’ MOTION
                                                        OBJECTING TO DEBTOR’S CLAIMED
16                                                      HOMESTEAD EXEMPTION
17                                                      DATE: July 21, 2022
                                                        TIME:     10:30 a.m.
18                                                      PLACE:    Courtroom “5A”
                                                                   411 W. Fourth Street
19                                                                 Santa Ana, California
                                                                   VIA ZOOM
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 1            Jeffrey I. Golden, Chapter 7 Trustee for the bankruptcy estate (the “Estate”) of Jamie Lynn

 2 Gallian (the “Debtor), hereby joins in Houser Bros. Co. dba Rancho Del Rey Mobile Home

 3 Estates’ Motion Objecting to Debtor’s Claimed Homestead Exemption, filed May 12, 2022 (docket

 4 no. 95).

 5
     DATED: June 30, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP
 6

 7

 8                                               By:          /s/ Aaron E. de Leest
                                                       AARON E. DE LEEST
 9                                                     Attorneys for Jeffrey I. Golden, Chapter 7 Trustee
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S JOINDER IN HOUSER BROS. CO. dba
RANCHO DEL REY MOBILE HOME ESTATES’ MOTION OBJECTING TO DEBTOR’S CLAIMED HOMESTEAD
EXEMPTION will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
June 30, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On June 30, 2022 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy thereof
in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 June 30, 2022                            Beverly Lew                                          /s/ Beverly Lew
 Date                                     Printed Name                                         Signature




1686861.1 27064 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                  Main Document     Page 4 of 4


                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Aaron E DE Leest on behalf of Trustee Jeffrey I Golden (TR)
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Jeffrey I Golden (TR)         lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com

D Edward Hays on behalf of Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
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D Edward Hays on behalf of Interested Party Courtesy NEF
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D Edward Hays on behalf of Plaintiff Houser Bros. Co.
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ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com

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Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
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Laila Masud on behalf of Interested Party Courtesy NEF
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Laila Masud on behalf of Plaintiff Houser Bros. Co.
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Mark A Mellor on behalf of Defendant Randall L Nickel
mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Mark A Mellor on behalf of Interested Party Courtesy NEF mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com

Valerie Smith on behalf of Interested Party Courtesy NEF              claims@recoverycorp.com

United States Trustee (SA)              ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY U.S. MAIL

Jamie Lynn Gallian
16222 Monterey Ln Unit 376
Huntington Beach, CA 92649




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
